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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

  In re:                                )
                                        )          Chapter 11
  USA GYMNASTICS,                       )
                                        )          Case No. 18-09108-RLM-11
                       Debtor           )
  _____________________________________ )
                                        )
  USA GYMNASTICS,                       )          1:18-cv-1306-RLY-MPB
                                        )
                      Plaintiff,        )          Bankr. Adv. Case No. 19-50012
                                        )
                    v.                  )
                                        )
  ACE AMERICAN INSURANCE COMPANY )
  f/k/a CIGNA INSURANCE COMPANY,        )
  GREAT AMERICAN ASSURANCE              )
  COMPANY, LIBERTY INSURANCE            )
  UNDERWRITERS INC.,                    )
  NATIONAL CASUALTY COMPANY,            )
  RSUI INDEMNITY COMPANY,               )
  TIG INSURANCE COMPANY,                )
  VIRGINIA SURETY COMPANY, INC.         )
   f/k/a COMBINED SPECIALTY             )
  INSURANCE COMPANY, WESTERN            )
  WORLD INSURANCE COMPANY,              )
  ENDURANCE AMERICAN INSURANCE          )
  COMPANY, AMERICAN                     )
  INTERNATIONAL GROUP, INC., and        )
  AMERICAN HOME ASSURANCE               )
  COMPANY, AND DOE INSURERS,            )
                                        )
                       Defendants.      )
                                        )


             ORDER ON THE RENEWED MOTION TO WITHDRAW
             THE REFERENCE OF THE ADVERSARY PROCEEDING



                                         1
Case 1:18-cv-01306-RLY-MPB
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           Ace American Insurance Company f/k/a Cigna Insurance Company (“AAIC”) and

  TIG Insurance Company filed a renewed motion to withdraw the reference of the

  adversary proceeding filed by Plaintiff, USA Gymnastics (“USAG”), in the United States

  Bankruptcy Court for the Southern District of Indiana. AAIC and TIG primarily contend

  that: (1) USAG improperly filed motions for partial summary judgment about the extent

  of its coverage under the AAIC and TIG policies while mediation was still-ongoing; and

  (2) that issues of insurance coverage are non-core and are best addressed by the district

  court.

           From a review of the lengthy docket sheet, the bankruptcy court has gained

  extensive experience with the background issues of the case—most notably the insurance

  coverage issues—since USAG filed the adversary proceeding on February 1, 2019. The

  bankruptcy court can use that knowledge base to manage the pre-trial issues, 1 reach a

  plan of reorganization, and (hopefully) come to a global settlement regarding the claims

  brought by hundreds of survivors of Mr. Nassar’s sexual abuse. Keeping the reference in

  the adversary proceeding is therefore a more efficient use of judicial resources and is a

  more effective forum for resolving the issues in this case. Accordingly, AAIC’s and

  TIG’s renewed motion to withdraw reference (Filing No. 114) is therefore DENIED




  1
   Notably, the bankruptcy court recently issued proposed findings and conclusions regarding the
  motions for partial summary judgment under the AAIC and TIG policies. (See Adv. Proc. No.
  19-50012, Filing Nos. 274, 275).
                                                2
Case 1:18-cv-01306-RLY-MPB
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  without prejudice to renewing the motion when the case is ready for trial.



  SO ORDERED this 18th day of November 2019.




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